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                                   4                                  UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

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                                   7    IN RE: CATHODE RAY TUBE (CRT)                        MDL No. 1917
                                        ANTITRUST LITIGATION
                                   8                                                         Case No. C-07-5944 JST

                                   9                                                         ORDER STRIKING LATE FILING
                                        This Order Relates To:
                                  10

                                  11    ALL INDIRECT PURCHASER ACTIONS
                                  12
Northern District of California
 United States District Court




                                  13          Today Objector Donnie G. Clifton filed a document entitled “Notice Regarding

                                  14   Information Referred To At Final Approval Hearing and Declarations of Settlement

                                  15   Administrators.” ECF No. 4513. The document was filed without leave of court. As the Court

                                  16   recently explained, ECF No. 4481, the deadlines for filings in support of or opposition to an

                                  17   objection have all passed.

                                  18          Briefing must end at some point. See United States v. Tittjung, 235 F.3d 330, 342 (7th Cir.

                                  19   2000) (“it is time for the principle that ‘litigation must have an end’ to prevail”).

                                  20          Objector Clifton’s late filing is hereby stricken.

                                  21          IT IS SO ORDERED.

                                  22   Dated: March 22, 2016
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                                  23
                                                                                                       JON S. TIGAR
                                  24                                                             United States District Judge

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